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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA

    UNITED STATES OF AMERICA

    v.                                                           Criminal No.: 4:18cr23

    BYRON HALE DELAVAN

                                     NOTICE OF APPEAL

           Defendant BYRON HALE DELAVAN hereby appeals to the United States Court

    of Appeals for the Fourth Circuit his conviction and sentence in the above-styled matter.




    __________/s/_____________
    Robert L. Jenkins, Jr.
    Bynum & Jenkins
    Virginia State Bar No.: 39161
    1010 Cameron Street
    Alexandria, VA 22314
    Telephone 703 309 0899
    Fax 703 549 7701
    RJenkins@BynumAndJenkinsLaw.com
    Counsel for the Defendant BYRON HALE DELAVAN

                                            CERTIFICATE

          I hereby certify that I caused a true copy to be served on all counsel of record via
    ECF on this July 22, 2019.

    Respectfully Submitted,
          By Counsel

    __________/s/________________
    Robert L. Jenkins, Jr.
    Bynum & Jenkins
    Virginia State Bar No.: 39161
    1010 Cameron Street
    Alexandria, VA 22314
    Telephone 703 309 0899
    Fax 703 549 7701
    RJenkins@BynumAndJenkinsLaw.com
    Counsel for the Defendant BYRON HALE DELAVAN
